         Case 1:18-cr-10299-ADB Document 13 Filed 08/29/18 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                                      Or. No              101^^
                                                              VIOLATIONS:


       Gary Jamal WEBSTER, a/k/a "Jamal,'                     21U.S,C. §846 -
                                                              Conspiracy to Distribute and Possess
                                                              with Intent to Distribute Cocaine
                                                              and Fentanyl

                                                              21 U.S.C. § 853 --
                               Defendant.                     Criminal Forfeiture Allegation

                                          INDICTMENT


COUNT ONE:             (Title 21, United States Code, Section 846 —Conspiracy to Distribute
                       and Possess with Intent to Distribute Cocaine and Fentanyl)

The Grand Jury charges that:

       From a time unknown to the Grand Jury, continuing until in or about September 2017, at

Boston, and elsewhere in the District of Massachusetts, and at other places presently known and

unknown:


                               1.     Gary Jamal WEBSTER, a/k/a "Jamal,"

defendant herein, did conspire with other persons known and unknown to the Grand Jury to

knowingly and intentionally distribute, and to possess with intent to distribute, cocaine, a Schedule

II controlled substance, and N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl] propanamide, also

known as fentanyl, a Schedule II controlled substance, in violation ofTitle 21, United States Code,

Section 841(a)(1).

       It is further alleged that the conspiracy charged in this Count involved 40 grams or more

of a mixture and substance containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-


                                                  1
           Case 1:18-cr-10299-ADB Document 13 Filed 08/29/18 Page 2 of 4




piperidinyl] propanamide, also known as fentanyl, a Schedule II controlled substance.

Accordingly, Title 21, United States Code, Section 841(b)(l)(B)(vi) is applicable to this Count.

       It is further alleged that, with respect to this Count, 40 grams or more of a mixture and

substance containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]

propanamide, also known as fentanyl, a Schedule II controlled substance, is attributable to, and

was reasonably foreseeable by Gary Jamal WEBSTER, a/k/a "Jamal." Accordingly, Title 21,

United States Code, Section 841(b)(l)(B)(vi) is applicable to Gary Jamal WEBSTER, a/k/a

"Jamal."


       All in violation of Title 21, United States Code, Section 846.
            Case 1:18-cr-10299-ADB Document 13 Filed 08/29/18 Page 3 of 4



                               DRUG FORFEITURE ALLEGATION
                            (Title 21, United States Code, Section 853)

The Grand Jury alleges:

        1.      As a result of the offense alleged in Count One of this Indictment:

                          1.      Gary Jama! WEBSTER, a/k/a "Jamal,"

defendant herein, shall forfeit to the United States any property constituting, or derived from, any

proceeds obtained, directly or indirectly, as the result of such violations; and/or any property

used, or intended to be used, in any manner or part, to commit, or to facilitate the commission of,

any such offense.

       2.       If any of the property described in paragraph 1, above, as a result of any act or

omission of the defendant -


                (a)     cannot be located upon the exercise of due diligence;

                (b)     has been transferred or sold to, or deposited with, a third party;

                (c)     has been placed beyond the jurisdiction of the Court;

                (d)     has been substantially diminished in value; or

                (e)     has been commingled with other property which cannot be subdivided
                        without difficulty;

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the defendant up to the value of the property described

in paragraph 1 above.

       All pursuant to Title 21, United States Code, Section 853.
         Case 1:18-cr-10299-ADB Document 13 Filed 08/29/18 Page 4 of 4




A TRUE BILL,




FORBPERSON OF THE GRAND JURY




EMILY CANNON
Assistant U.S. Attorney




DISTRICT OF MASSACHUSETTS                                   August 29, 2018

Returned into the DistricL   hrt by the Grand Jurors and filed.



Deputy Clerk
